 8:06-cr-00133-JFB-FG3              Doc # 80       Filed: 08/31/07        Page 1 of 4 - Page ID # 204


                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff
v.                                                          Case Number 8:06cr133-002

                                                            USM Number 20824-047

JOHN DAVIDSON
                         Defendant
                                                            JENNIFER L. GILG

                                                            Defendant’s Attorney
___________________________________

                                  JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted violation of the mandatory condition which states the defendant shall not commit
another federal, state or local crime, standard condition 2 and special condition 2 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                                     Date Violation
        Violation Number                     Nature of Violation                      Concluded


                 1                    New law violation                             January 25, 2007

                 3                    Failure to submit monthly                         Ongoing
                                      reports

                 6                    Failure to abstain from alcohol                 April 5, 2007
                                      use

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal
must be filed with the Clerk of this Court within ten (10) days of this date.

Allegations 2,4,5,7,8,9 are withdrawn on the motion of the government.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                                              Date of Imposition of Sentence:
                                                                                             August 30, 2007

                                                                                        s/ Joseph F. Bataillon
                                                                                  United States District Judge

                                                                                              August 31, 2007
    8:06-cr-00133-JFB-FG3        Doc # 80      Filed: 08/31/07     Page 2 of 4 - Page ID # 205


Defendant: JOHN DAVIDSON                                                                  Page 2 of 4
Case Number: 8:06cr133-002


                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of eight (8) months.

         (X) Defendant is to be given credit for time served.

         (X) Defendant is remanded to the custody of the United States Marshal.

.
                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                                _____________________________
                                                                        Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                    By:__________________________________
 8:06-cr-00133-JFB-FG3            Doc # 80          Filed: 08/31/07    Page 3 of 4 - Page ID # 206


Defendant: JOHN DAVIDSON                                                                          Page 3 of 4
Case Number: 8:06cr133-002


                                     SUPERVISED RELEASE


No term of supervised release is imposed.



                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

     $100.00 (remains due)                                                $2,267.50 (remains due)

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:



                                                    FINE

          No fine imposed.

                                            RESTITUTION

      Restitution in the amount of $2,267.50 is hereby ordered jointly and severally with co-
defendant Harvey Freemont. The defendant shall make restitution to the following payees in the
amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                                  **Total Amount             Amount of               or Percentage
        Name of Payee                 of Loss            Restitution Ordered          of Payment

 Sandra Moore                       $     500.00              $ 500.00                  Priority
                                                                                 Order/Percentage

 Farmers Mutual of Nebraska             $1,767.50             $1,767.50                 Priority
 Lincoln, NE                                                                     Order/Percentage

 Totals                                 $2,267.50             $2,267.50


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
 8:06-cr-00133-JFB-FG3              Doc # 80        Filed: 08/31/07        Page 4 of 4 - Page ID # 207


Defendant: JOHN DAVIDSON                                                                                Page 4 of 4
Case Number: 8:06cr133-002


                                     SCHEDULE OF PAYMENTS

The special assessment in the amount of $100.00 remains due and payable.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to pay
said sum immediately if he or she has the capacity to do so. The United States of America may institute civil
collection proceedings at any time to satisfy all or any portion of the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall participate
in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program, the defendant shall
pay 50% of the available inmate institutional funds per quarter towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments to satisfy
the criminal monetary penalty in the following manner: (a) monthly installments of $100 or 3% of the
defendant’s gross income, whichever is greater; (b) the first payment shall commence 30 days following the
defendant’s discharge from incarceration, and continue until the criminal monetary penalty is paid in full; and
(c) the defendant shall be responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order of
priority: special assessment; restitution; fine; and other penalties. Unless otherwise specifically ordered, all
criminal monetary penalty payments, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, shall be made to the clerk of the Court. Unless otherwise
specifically ordered, interest shall not accrue on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111 S. 18th
Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances affecting
the ability to make monthly installments, or increase the monthly payment amount, as ordered by the court.


The defendant is restrained from transferring any real or personal property, unless it is necessary to liquidate
and apply the proceeds of such property as full or partial payment of the criminal monetary penalty.

         Restitution to be paid jointly and severally with co-defendant Harvey Freemont.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
